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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF RHODE ISLAND

JOSEPH MORRIS, individually and on behalf of
All other similarly situated

Vv. . C.A. 69-cv-4192-JJM
PATRICIA COYNE-FAGUE, in her capacity as the

Director of the State of Rhode Island Department of
Corrections, successor to ANTHONY TRAVISONO

 

AFFIDAVIT OF MATTHEW KETTLE

I, Matthew Kettle, being duly sworn, depose and state as follows:

A, I have been employed by the R.J. Department of Correction since 1989

Be I currently serve as the Assistant Director of Institutions & Operations (“ADIO”)
of the R.I. Department of Corrections. I have served in this capacity since 2017.
Prior to serving as “ADIO”, I served as Warden of the Maximum and High
Security Facilities.

3. As part of my duties as “ADIO”, I am responsible for overseeing the overall
operational practices that concern conditions of confinement in all confinement

facilities.
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4, I have personal knowledge that in all secured housing facilities, all cells are
appropriately illuminated during the day and for a portion of the evening to allow for
reading and writing. During sleeping hours, all cell lights are turned off and dimmer
night lights are utilized to allow staff to monitor the health and safety of the offenders

while maintaining an appropriate sleeping environment.

wile.

Matthew Kettle

Subscribed and sworn to before me in the City of Cranston, State of Rhode Island on this

17th day of January 2020. ou

NOTARY PUBLIC yy, LDC apaff

Commission Expires:
P b/ai Qy
